             Case 1:20-cv-03590-JEB           Document 411         Filed 02/26/25       Page 1 of 9




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                                 Plaintiff,

           v.                                               Civil Action No. 1:20-cv-03590-JEB

META PLATFORMS, INC.

                                 Defendant.


PLAINTIFF FEDERAL TRADE COMMISSION’S POSITION STATEMENT REGARDING ITS
                    PROPOSED SEALING PROCEDURES

        The FTC brings this suit alleging that Meta Platforms, Inc.’s acquisitions of Instagram, Inc. in 2012

and WhatsApp, Inc. in 2014 violate the antitrust laws by illegally maintaining its monopoly in the market

for personal social networking services. Over the course of this litigation, the parties engaged in extensive

fact and expert discovery in furtherance of their claims. The parties began the process of narrowing the

issues before this Court by filing cross-motions for summary judgement. Now, as directed by this Court, the

parties have narrowed that universe even further and identified less than 2,000 exhibits on their collective

exhibit lists. Over the next fifteen days, the parties will refine their lists and submit no more than 900 exhibits

each. From the FTC’s list, these approximately 900 exhibits will form the basis for the FTC’s affirmative

arguments and compose nearly the complete set of documents on which this Court will determine whether—

and how—Meta violated the antitrust laws.

        Given this trial’s broad implications and public interest, the FTC supports public access, balanced

against sincere and legitimate needs to protect competitively sensitive information. See United States v.

Gen. Motors Corp., 99 F.R.D. 610, 612 (D.D.C. 1983) (“[T]he greater the public’s interest in the case the

less acceptable are restraints on the public’s access to the proceedings.”). “The starting point in considering

                                                        1
            Case 1:20-cv-03590-JEB           Document 411        Filed 02/26/25       Page 2 of 9




a motion to seal court records is a strong presumption in favor of public access to judicial proceedings.”

Hardaway v. D.C. Hous. Auth., 843 F.3d 973, 980 (D.C. Cir. 2016) (quoting EEOC v. Nat’l Children’s Ctr.,

Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996). To overcome that presumption, “courts engage in the six-factor

inquiry described in United States v. Hubbard, 650 F.2d 293 (D.C. Cir. 1980).” Jane Jones v. Donald J.

Trump, 2025 WL 485419, at *2 (D.D.C. Feb. 13, 2025) (Boasberg, J.). Among those factors, courts have

recognized that where “the government is a party to the case—and supports public access to the judicial

record,” this factor “strengthens the case for access.” United States v. Munchel, 567 F. Supp. 3d 9, 18

(D.D.C. 2021) (citing Nat’l Children’s Ctr., 98 F.3d at 1409). At the same time, courts have rightly provided

greater protections for nonparties’ privacy rights. See, e.g., Hubbard, 650 F.2d at 319 (“We think that where

a third party’s property and privacy rights are at issue the need for minimizing intrusion is especially great

and the public interest in access to materials which have never been judicially determined to be relevant to

the crimes charged is especially small.”); McConnell v. Fed. Election Comm’n, 251 F. Supp. 2d 919, 941

(D.C. Cir. 2003) (recognizing that “third parties . . . are afforded greater protections under Hubbard”).

Accordingly, the FTC proposes a procedure that will place the burden, appropriately, on the party seeking

to seal critical documents and testimony and encourages resolution of such matters in advance of trial.

       Meta’s position, by contrast, would leave a significant number of documents in effective limbo when

trial begins, and is likely to cause delays to deal with disputed confidentiality assertions during trial. Under

Meta’s proposal, any disputes over the confidentiality status of most Meta-produced documents and

testimony—outside of a few dozen documents—would occur during trial, interrupting the Court’s

proceedings and very likely requiring an extension of the trial schedule. Meta’s proposal also places the

burden on the FTC to identify and resolve confidentiality issues throughout the course of trial instead of

placing the burden on the party seeking to prevent public access to judicial records. Meta’s proposal also

defaults to a closed proceeding in the event of any disputes. Meta’s proposed terms are in tension with this

                                                       2
            Case 1:20-cv-03590-JEB           Document 411        Filed 02/26/25      Page 3 of 9




Court’s prior orders in this case and inappropriately skews toward closing the courtroom in contravention of

the law of this circuit and the First Amendment. See, e.g., ECF No. 368 at 1 (ordering “[i]f the parties cannot

reach full agreement, Meta shall file a statement . . . explaining which materials are in dispute and why they

should remain sealed pursuant to the factors set out in [Hubbard].”); Press-Enterprise Co. v. Superior Ct. of

California for Riverside Cty., 478 U.S. 1, 9 (1986) (discussing the First Amendment right of access); Patel

v. Garland, 2023 WL 7536574, at *2 (D.D.C. Nov, 13, 2023) (Boasberg, J.) (rejecting a sealing request that

was “not ‘targeted’ to ‘deprive the public of access only to’ particularly sensitive or confidential

information.”); Vanda Pharm., Inc. v. FDA, 539 F. Supp. 3d 44, 56 (D.D.C. 2021) (noting it is the burden of

the “party seeking to avoid disclosure” to “identify specific privacy interests in the documents at issue”); In

re McCormick & Co., 316 F. Supp. 3d 455, 465 (D.C. Cir. 2018) (“To carry their burden under Hubbard,

defendants must specifically identify the commercially sensitive information contained in the redactions and

explain why its disclosure would harm their competitive standing.”).

       The parties’ confidentiality proposals contain three main areas of disagreement: first, the FTC

proposal resolves confidentiality on the majority of documents before trial whereas Meta’s proposal delays

resolution of confidentiality until mid-trial; second, the FTC does not agree that two confidentiality tiers are

necessary or helpful; and, finally, the FTC proposes a process that allows the parties to seek guidance on any

disputes regarding the contours of when the courtroom shall be closed. See FTC’s Proposed Order Regarding

Confidentiality Procedures Before and at Trial (“FTC’s Confidentiality Proposal”).

       I.      The FTC’s Proposal Resolves the Majority of Confidentiality Issues Before Trial by
               Capitalizing on Prior Engagement on Confidentiality

       The FTC proposes a process to resolve the confidentiality of a majority of exhibits and deposition

testimony prior to trial by capitalizing on months of engagement with Meta. See id. From the outset, Meta’s

approach to confidentiality has been to seek blanket, overarching protections for all its produced documents


                                                       3
            Case 1:20-cv-03590-JEB           Document 411        Filed 02/26/25       Page 4 of 9




and testimony from Meta’s current or former employees. The FTC has been working with Meta to resolve

these overly broad designations for months.

       The FTC first challenged the confidentiality designations of documents produced by Meta in

September 2023. See Ex. A (2023.09.11 Ltr. D Matheson to A Polavarapu re Confidentiality Challenges);

Ex. B (2023.09.15 Ltr. J Lorber to A Polavarapu re Confidentiality Challenges). Meta responded by agreeing

to withdraw its confidentiality designations for the majority of challenged documents with the caveat that it

may continue to protect “any ‘sensitive personally identifiable information’ [or “PII”] of its employees.” Ex.

C at 1-3 (2023.10.10 M Reade Letter to D Matheson J Lorber re Conf Challenges). The FTC again challenged

Meta’s confidentiality designations for documents in June 2024. See Ex. D (2024.06.18 Ltr. J Lorber to M

Reade re Confidentiality Challenges). In its response to the FTC’s challenges, Meta stated it “anticipate[d]

withdrawing its confidentiality designations for most of the challenged materials” with the same caveat

regarding PII. Ex. E at 1-2 (2024.08.12 M Reade Letter to J Lorber re Conf Challenges with Appx); see also

Ex. F (2024.08.13 Amended Appendix B (June 18 Chall.)). At bottom, since the close of fact discovery,

Meta has already reviewed almost 900 documents for confidentiality which include more than half of the

Meta-produced documents on the FTC’s Preliminary Exhibit List.

       The FTC’s proposal starts from where prior negotiations have ended. The FTC’s proposal resolves

all confidentiality issues on Meta-produced exhibits in two tranches prior to trial. FTC’s Confidentiality

Proposal at 1-2. The first tranche would include 100 exhibits identified by the FTC. The second tranche

would include the remaining Meta-produced documents on either side’s exhibit list; this number is not

burdensome for Meta because Meta will not have to re-review all these documents: as noted above, Meta

has reviewed at least half of documents on the FTC’s Preliminary Exhibit List for confidentiality. In

addition, the FTC seeks to resolve all confidentiality regarding testimony previously offered by witnesses

on either party’s “will call” list. Id. at 3-4. Resolving confidentiality issues for both exhibits and witnesses

                                                       4
            Case 1:20-cv-03590-JEB           Document 411         Filed 02/26/25      Page 5 of 9




prior to trial will enable a streamlined trial presentation that both reduces risk of any inadvertent disclosure

as well as ensures an orderly trial presentation.

       Any burden to Meta is minimal. As discussed above, Meta has already engaged on a significant

portion of these documents. Moreover, even if there is some burden to Meta, that burden is of their own

doing. The FTC has been trying to engage on confidentiality issues related to trial since November 2024

only to have Meta resist at every turn. See Ex. G at 3 (2024-11-15 D. Matheson Letter re Trial Scheduling

and Pretrial Procedures); ECF No. 389 at 5, 12. Further, to the extent Meta seeks to re-review documents it

has already assessed for confidentiality that is a choice of its own doing and should not be allowed to interfere

with the FTC’s orderly presentation of its evidence and the public’s access to the same.

       Last, the parties appear to disagree about how to handle confidentiality assertions for documents that

do not appear on either party’s exhibit list (e.g., documents used for impeachment). The parties should not

need to disclose potential impeachment documents in advance of a witness’s testimony. That said, and

recognizing that Meta cannot reasonably anticipate every possible impeachment document, the FTC has

offered to disclose potential impeachment documents for Meta current and former employees 48 hours before

the witness testifies, provided that the attorney who receives this disclosure must be walled off from the

remainder of Meta’s trial team. In other words, the FTC is willing to make such disclosures to facilitate a

confidentiality review for impeachment documents, but in doing so does not agree to provide Meta with an

asymmetric advantage by allowing the trial team to prepare for specified impeachment materials. After these

documents are disclosed, the FTC can resolve confidentiality disputes with this walled off attorney for Meta,

and if necessary, the walled off attorney can file motions or appear in court to seek confidential treatment of

particular documents. If Meta does not wall off an attorney for these purposes, then the FTC should not be

required to disclose impeachment documents in advance. Rather, the FTC should proceed with cross-

examination, taking into consideration guidance from Meta and the Court about what types of materials have

                                                       5
                  Case 1:20-cv-03590-JEB              Document 411           Filed 02/26/25            Page 6 of 9




been treated as confidential when introducing documents for impeachment. To the extent a particular

document raises confidentiality concerns during a cross-examination, Meta can raise its concerns in real time

and the parties and the Court can proceed accordingly.

           II.      The Redaction of a Document in its Entirety is Insufficient Reason to Close the
                    Courtroom

           Meta proposes an unnecessary, “two level” system for confidentiality that would leave some

materials marked as “complete nondisclosure” and others as “partial nondisclosure.” Ex. H at 1 (2025.02.24

Meta Counterproposal Re Confidentiality Procedures).1 At bottom, Meta assumes that there is a subset of

documents— i.e., those marked “compete nondisclosure”—which cannot be used at all without closing the

courtroom in its entirety. This is a flawed assumption. Parties can examine confidential materials in many

instances while simultaneously leaving the courtroom open to the public by talking around confidential

information. Materials and information contained therein are either confidential or not, and Meta should

move the Court accordingly. To the extent Meta believes the courtroom must be sealed for certain topics

generally, Meta should move the Court for that relief as well, applying the same Hubbard factors. See, e.g.,

United States v. Gen. Motors Corp., 99 F.R.D. 610, 612 (D.D.C. 1983) (“But litigation is, as a rule, supposed

to be conducted in full view, and the greater the public’s interest in the case the less acceptable are restraints

on the public’s access to the proceedings.”).

           III.     The FTC’s Proposal Regarding Deposition Transcripts Provides an Opportunity to
                    Resolve Dispute Prior to Trial

           While Meta agrees to identify to the FTC all confidentiality assertions and proposed redactions for

deposition and investigational hearing transcripts for Meta witnesses listed as “will call” on either side’s

Final Witness List, its proposal does not provide a mechanism for the parties to raise, and the Court to

resolve, any disputes regarding Meta’s proposed confidentiality assertions. Once again, Meta’s proposal


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    Exhibit H is the most recent full copy of Meta’s proposal the FTC received, sent on February 24.
                                                                 6
            Case 1:20-cv-03590-JEB          Document 411         Filed 02/26/25     Page 7 of 9




here leaves significant uncertainty surrounding how attorneys may examine Meta witnesses until days prior

to presenting a witness’s testimony. To resolve that uncertainty the FTC proposes a schedule for the parties

to meet and confer and jointly raise any issues to the Court in advance of trial. See FTC’s Confidentiality

Proposal at 3.

                                                    ***

       Guided by the law of this circuit, the FTC’s proposal appropriately places the burden for limiting or

preventing public access to judicial records on the moving party. Moreover, the FTC’s proposal will

minimize potential disruption during the course of the trial by resolving the vast majority of confidentiality

issues prior to the start of the proceeding. For these reasons, the FTC respectfully requests that the Court

enter the FTC’s Proposed Confidentiality Order attached to this position statement.



Dated: February 25, 2025                           Respectfully submitted,

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                                                      7
          Case 1:20-cv-03590-JEB        Document 411       Filed 02/26/25   Page 8 of 9




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 25th day of February 2025, I served the sealed document on
the following counsel via electronic mail:

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                                                 8
Case 1:20-cv-03590-JEB     Document 411     Filed 02/26/25    Page 9 of 9




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                                  9
